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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION
    UNITED STATES OF AMERICA                   :    Case No. 18-CR-109
                                               :
                   v.                          :    Judge Timothy S. Black
                                               :
    ANDREY SHUKLIN, e t a l . ,                :    JOINT STATUS REPORT
                                               :
                Defendants.                    :
                                               :


         The Government submits this joint status report to the Court relating to the above-captioned

case and states as follows:

         On July 25, 2018, a federal grand jury returned a one-count Indictment against twelve

defendants, charging the defendants with participating in a multiyear RICO Conspiracy in

violation of 18 U.S.C. § 1962(d) relating to the transportation of household goods. (Doc. 3

(Indictment).) To date, eight of the twelve defendants have been arrested and appeared in this

District. The government considers the four defendants who have not yet been apprehended as

fugitives.

         Shortly after the first defendant appeared in this District, the government began providing

discovery. Discovery in this matter is voluminous—it includes, among other things, over 80

forensically imaged computers, multiple email accounts, bank records, and corporate and customer

files and documents, including evidence seized during post-Indictment search warrants of multiple

warehouses located all over the country where customer goods were being stored. 1 As a result,

the government has been providing discovery on a rolling basis.



1
  With cooperation and assistance from defendants, in the months following the Indictment, agents
facilitated the recovery of household goods to approximately 200 customers from warehouses and
storage units throughout the country.
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       The parties have been working collaboratively to resolve any discovery issues. On March

28, 2019, the government and available defense counsel participated in a conference call to discuss

the status of discovery and to devise a strategy for producing and reproducing certain discovery in

a way that is both cost-effective for defendants and allows counsel to access and review all

materials in the most efficient manner.    The government will continue to work with defense

counsel to address any discovery concerns that may arise.

       The government has provided this status report to all current counsel for defendants of

record who have appeared to date, and they concur with its content.

       The parties respectfully request a conference to discuss scheduling at the Court’s

convenience.

                                                     Respectfully submitted,
                                                     BENJAMIN C. GLASSMAN
                                                     United States Attorney


                                                     /s/ Matthew C. Singer
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                                 CERTIFICATE OF SERVICE

       I hereby certify that the foregoing was filed with the Court’s CM/ECF System this 9th day

of April 2019, which provides electronic notice to all parties.



                                                      /s/Matthew C. Singer
                                                      MATTHEW C. SINGER (IL 6297632)
                                                      Assistant United States Attorney
